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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter ll
)
TINTRI, INC.,' ) CaSe NO.Z 18-11625 (KJC)
)
Debtor, ) Re: Docket No. 81 j / `/(~"

ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

Upon the motion (the “_l\;l“o_ti@”)2 of the above-captioned debtor and debtor in
possession (the “_D_e_l;tg”) for the entry of an order (this “Q_rd_er”), authorizing the Debtor to
establish procedures for interim compensation and reimbursement of expenses for professionals
and official committee members, as more fully set forth in the Motion; and the Court having
found that the Court has jurisdiction to consider the Motion; and due and proper notice of the
Motion having been provided, and it appearing that no other or further notice need be provided;
and the Court having reviewed the Motion and having determined that the legal and factual bases
set forth in the Motion establish good and just cause for the relief granted herein; and upon all
the proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor,

 

' The Debtor and the last four digits of its taxpayer identification numbers are (69'78): The headquarters and service
address for the above-captioned Debtor is 303 Ravendale Dr., Mountain View, CA 94043.
2 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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IT IS HEREBY ORDERED THAT:

1. The Motion is granted

2. Except as may otherwise be provided in an order of this Court authorizing
the retention of specific Professionals, all Professionals in this Chapter ll case retained by the
Debtor or any statutorily appointed committee may seek interim payment of compensation and

reimbursement of expenses in accordance with the following procedures (collectively, the

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Compensation Procedures”):

a. On or before the 25th day of each calendar month, or as soon as
practicable thereafter (but not earlier than the 15th day of each
calendar month), each Professional may file an application (a
“Monthly Fee Application”) with the Court for interim approval
and allowance of compensation for services rendered and
reimbursement of expenses incurred during any preceding month
or months, and serve a copy of such Monthly Fee Application by
first class mail on each of the following parties (collectively, the
”MM”)!

(i) the Debtor, Tintri, Inc., 303 Ravendale Drive, Mountain View,
CA 94943, Attn.: Robert J. Dutfy , Chief Restructuring Officer
(bduffy@thinkbrg.com);

(ii) counsel to the Debtor, Pachulski Stang Ziehl & J ones LLP, 919
N. Market Street, 17th Floor, Wilmington, DE 19801, Attn.; Colin
R. Robinson, Esq. (crobinson@pszjlaw.com) and Pachulski Stang
Ziehl &Jones LLP, 10100 Santa Monica Blvd., 13th Floor, Attn:
John D. Fiero, Esq. (jfiero@pszjlaw.com);

(iii) the Office of the United States Trustee, 844 King Street, Suite
2207 Lockbox 35, Wilmington, DE 19801, Attn.: Timothy J. Fox,
Esq. (timothy.fox@usdoj .gov);

(iv) counsel to the Official Committee of Unsecured Creditors,
Womble Bond Dickinson (US) LLP, 222 Delaware Avenue, Suite
1501 , Wilmington, DE 19801, (Attn: Matthew P. Ward, Esq. and
Ericka F. Johnson, Esq.), Email: matthew.ward@Wbd-us.com,
ericka.j ohnson@wbd-us.com;

(v) counsel to the Debtor’s DIP Lenders, (a) Polsinelli PC; 222
Delaware Avenue, Suite 1101, Wilmington, DE 19801, Attn:
Stephen J. Astringer, Esq. (sastringer@polsinelli.com), (b)
McDermott Will & Emery, 340 Madison Avenue, New York, NY
10173, Attn: Riley T. Orloff, Esq. (rorloff@mwe.com); and (c)
McDermott Will & Emery, 2049 Century Park East, Suite 3800,

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Los Angeles, CA 90067, Attn: Gary B. Rosenbaum, Esq.,
(grosenbaurn@mwe.com); and

(vi) counsel to the Prepetition Senior Secured Lender, (a) Ashby &
Geddes, P.A.; 500 Delaware Avenue, 8th Floor, PO Box 1150,
Wilmington, DE 19899-1150, Attn: Gregory A. Taylor, Esq.
(gtaylor@ashbygeddes.com); (b) Riemer & Braunstein LLP, Three
Center Plaza, Suite 600, Boston, MA 02108, Attn: Paul S.
Samson, Esq.) (psamson@riemerlaw.coin); and (c) Riemer &
Braunstein LLP, Times Square Tower, Suite 2506, Seven Times
Square, NeW York, NY 10036, Attn: Steven E. Fox, Esq.
(sfox@riemerlaw.com).

Any Professional that fails to file a Monthly Fee Application for a
particular month or months may subsequently submit a
consolidated Monthly Fee Application including any prior month
or months. All Monthly Fee Applications shall comply with the
Bankruptcy Code, the Bankruptcy Rules, applicable Third Circuit
law, and Local Rule 2016-2.

Each Notice Party will have 21 days after service of a Monthly Fee
Application to review the request (the “Review Period”). If any
Notice Party wishes to object to a Professional’s Monthly Fee
Application, the objecting party shall serve a written notice (a
“Notice of Objection”) so that it is received by the end of the
Review Period by the applicable Professional and each of the
Notice Parties. A Notice of Objection shall set forth the precise
nature of the objection and the amount of fees and expenses at
issue.

Upon the expiration of the Review Period, if a Notice of Objection
has not been served with respect to a Monthly Fee Application, a
Pi'ofessional may file a certificate of no objection with the Court
with respect to the unopposed portion of the fees and expenses
requested in their Monthly Fee Application (each, a “CNO”).
After a CNO is filed, the Debtor is authorized to pay the
Professional an amount equal to 80% of the fees and 100% of the
expenses requested in the applicable Monthly Fee Application (the
“Maximum Monthlv Pavment”). lf a Notice of Objection was
timely received and remains unresolved, the Debtor authorized to
pay the Professional an amount (the “Reduced Monthlv Pavment”)
equal to the lesser of (i) the Maximum Monthly Payment and (ii)
80% of the fees and 100% of the expenses not subject to a Notice
of Objection.

If a Notice of Objection is timely served in response to a Monthly
Fee Application, the objecting party and the Professional shall '
attempt to resolve the objection on a consensual basis. lf and to
the extent that the parties reach an agreenient, the Debtor shall
promptly pay 80% of the agreed-upon fees and 100% of the
agreed-upon expenses, to the extent not already included in a
Reduced Monthly Payment (an “Incremental Resolution

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Paymen ”). lf, however, the parties are unable to reach a complete
resolution of the objection within ten days after service of the
Notice of Objection, the objecting party shall file their objection
(the “Objection”) with the Court within three business days after
such ten-day period and serve such Objection on the respective
Professional and each of the Notice Parties. Thereafter, the
Professional may either (i) file with the Court a response to the
Objection, together with a request for payment of the difference, if
any, between (A) the Maximurn Monthly Payment and (B) the
Reduced Monthly Payment and any Incremental Resolution
Payment made to the affected Professional (the “Incremental
Amount”) or (ii) forego payment of the lncremental Arnount until
the next interim or final fee application hearing, at which time the
Court will consider the Objection, if requested by the parties.

At three-month intervals or such other intervals convenient to the
Court (the “Interim Fee Period”), each of the Professionals may
file With the Court and serve on the Notice Parties a request (an
“Interim Fee Application Request”) for interim Court approval and
allowance of the payment of compensation and reimbursement of
expenses sought by such Professional in their Monthly Fee
Applications7 including any holdbacks, filed during the Interim Fee
Period, pursuant to section 331 of the Bankruptcy Code. The
Interim Fee Application Request must include a brief description
identifying the following:

i. the Monthly Fee Applications that are the subject of
the request;

ii. the amount of fees and expenses requested;

iii. the amount of fees and expenses paid to date or
subject to an Objection;

iv. the deadline for parties to file objections (the
“Additional Objections”) to the Interim Fee
Application Request; and

v. any other information requested by the Court or
required by the Local Rules.

Objections, if any, to the Interim Fee Application Requests shall be
filed and served upon the Professional that filed the Interim Fee
Application and the other Notice Parties so as to be received on or
before 4:00 p.m. prevailing Eastern Time on the let day (or the
next business day if such day is not a business day) following
service of the applicable Interim Fee Application Request.

The Debtor will request that the Court schedule a hearing on the
Interim Fee Application Requests at least once every six months.
The Debtor, however, may request that a hearing be held every
three months or at such other intervals as the Court deems
appropriate If no Obj ections are pending and no Additional

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Obj ections are timely filed, the Court may grant an Interim Fee
Application Request without a hearing

g. The first Interim Fee Period will cover the month in which the
Petition Date occurs and the two full months immediately
following such month. Thus, as applicable to this chapter 11 case,
the first Interim Fee Period will cover the Petition Date through
September 30, 2018.

h. The pendency of an Obj ection to payment of compensation or
reimbursement of expenses will not disqualify a Professional from
the future payment of compensation or reimbursement of expenses
under the Interim Compensation Procedures.

i. Neither (i) the payment of or the failure to pay, in whole or in part,
interim compensation and/or the reimbursement of or the failure to
reimburse, in whole or in part, expenses under the Interim
Compensation Procedures nor (ii) the filing of or failure to file an
Obj ection will bind any party in interest or the Court with respect
to the final allowance of applications for payment of compensation
and reimbursement of expenses of Professionals. All fees and
expenses paid to Professionals under the Interim Compensation
Procedures are subject to disgorgement until final allowance by the
Court.

3. Attorney Professionals also intend to make a reasonable effort to comply
with the U.S. Trustee’s requests for information and additional disclosures as set forth in the
Guidelinesfor Revz'ewing Applz'cations for Compensation and Rez'mbursement QfExpenses Filed
under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Ey%clive as of November 1,
2013 (the Revised UST Guidelines”), both in connection with this application and the interim
and final fee applications to be filed by Attorney Professionals in these chapter 11 cases.

4. Each member of any appointed committee is permitted to submit
statements of expenses incurred in the performance of the duties of the committee (excluding
third-party counsel expenses of individual committee members) with supporting vouchers to
committee counsel, which counsel shall collect and submit the committee member’s request for
reimbursement in accordance with the Compensation Procedures. Approval of the

Compensation Procedures, however, will not authorize payment of such expenses to the extent

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that such payment is not authorized under the Bankruptcy Code, the Bankruptcy Rules, Local
Rules, or the practice of this Court.

5. Approval of the Compensation Procedures does not authorize payment of
such expenses to the extent that such payment is not authorized under the Bankruptcy Code, the
Bankruptcy Rules, Local Rules, or the practice of this Court.

6. The Professionals shall be required to serve the Interim Fee Applications
and the Final Fee Applications only on the Notice Parties, and all other parties that have filed a
request for special notice with the Clerk of this Court pursuant to Bankruptcy Rule 2002 shall be
entitled to receive only notice of hearings on the Interim Fee Applications and Final Fee
Applications.

7. In each Interim Fee Application and Final Fee Application, all attorneys
(collectively, the “Attorneys”) who have been or are hereafter retained pursuant to sections 327,
363, or 1103 of the Bankruptcy Code, unless such Attorney is an ordinary course professional,
shall apply for compensation for professional services rendered and reimbursement of expenses
incurred in connection with the Debtor’s Chapter 11 case in compliance with sections 330 and
331 of the Bankruptcy Code and applicable provisions of the Bankruptcy Rules, Local Rules,
and any other applicable procedures and orders of the Court.

8. All notices given in accordance with the Compensation Procedures as set
forth herein shall be deemed sufficient and adequate notice and in full compliance With the
applicable provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

9. The Debtor shall include all payments made to Professionals in
accordance with the Compensation Procedures in their monthly operating report(s), identifying

the amount paid to each of the Professionals.

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10. Notice of the Motion as provided therein shall be deemed good and
sufficient notice as such motion and the requirements of Bankruptcy Rule 6004(a) and the Local
Bankruptcy Rules are satisfied by such notice.

l 1. The Debtor is authorized to take all actions necessary to effectuate the
relief granted pursuant to this Order in accordance with the Motion.

12. The Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation of this Order.

Dated: August 142018 <//(/L/K\ d¢\/\Ll/\ /

Wilmington, Delaware The Ho rable Kev n J. Carey
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